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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                 Plaintiff,         )                 4:07CR3079
                                    )
           v.                       )
                                    )
JOSE ROMO-CORRALES, FRANCISCO       )           MEMORANDUM AND ORDER
GALVAN-VALDEZ,                      )
                                    )
                 Defendants.        )
                                    )


     The evidentiary hearing on the motion to suppress filed by
defendant Jose Romo-Corrales, filing 45, is currently scheduled
to be held on April 22, 2008.


     Defendant Francisco Galvan-Valdez has moved to continue his
deadline for filing pretrial motions, (filing 50), and in support
of this motion explains that due to the schedule and significance
of his counsel’s on-going medical care, defendant’s counsel has
been unable to fully review this case and determine whether any
pretrial motions should be filed.


     The court has been advised that the evidence and issues
underlying any suppression motion which may be filed by defendant
Galvan-Valdez will be substantially the same as those currently
raised in the suppression motion filed by defendant Jose
Romo-Corrales.   Based on the representations in defendant Galvan-
Valdez’ motion to continue, the court notes that his counsel will
be receiving medical treatments every day during the week of
April 21, including on April 22, 2008, and Galvan-Valdez’ counsel
will be unable to attend the evidentiary hearing as scheduled on
defendant Romo-Corrales’ motion to suppress.
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     Counsel for the government and defendant Romo-Corrales do
not oppose continuing the suppression hearing from April 22, 2008
to mid-July, 2008.

     IT THEREFORE HEREBY IS ORDERED:

     1.    The evidentiary hearing on defendant Jose
           Romo-Corrales’ motion to suppress, (filing 45), is
           continued, and the hearing will be held before the
           undersigned on July 14, 2008 beginning at 1:30 p.m.

     2.    The motion for enlargement of time filed by the
           defendant Galvan-Valdez, (filing 50), is granted.
           Pretrial motions on behalf of defendant Galvan-Valdez
           shall be filed on or before May 30, 2008.

     3.    The court further finds that the ends of justice will
           be served by granting defendant Galvan-Valdez’ motion
           to continue the deadline for filing pretrial motions,
           and outweigh the interests of the public and the
           defendants in a speedy trial, and the additional time
           arising as a result of the granting of the motion, the
           time between today’s date and May 30, 2008, shall be
           deemed excludable time in any computation of time
           under the requirements of the Speedy Trial Act, for the
           reason that defendant Galvan-Valdez needs additional
           time to adequately prepare the case, taking into
           consideration due diligence of counsel, the novelty
           and complexity of the case, and the fact that the
           failure to grant additional time might result in a
           miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
           (B).

     DATED this 16th day of April, 2008.

                                    BY THE COURT:


                                    s/ David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge




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